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                   UNITED STATES DISTRICT COURT
                    DISTRICT OF MASSACHUSETTS
________________________________________
                                         )
INA STEINER, DAVID STEINER, and          )
STEINER ASSOCIATES, LLC,                 )
                                         )
                    Plaintiffs,          )    Civil Action
                                         )    21-cv-11181-PBS
v.                                       )
                                         )
EBAY, INC., et al.,                      )
                                         )
                    Defendants.          )
______________________________           )

                        MEMORANDUM AND ORDER

                             January 16, 2025

Saris, D.J.

                              INTRODUCTION

     Defendant eBay Inc. (“eBay”) moves this Court to certify its

Memorandum and Order, issued on November 1, 2024, for interlocutory

appeal under 28 U.S.C. § 1292(b) (Dkt. 516). The Court allowed in

part and denied in part the parties’ partial motions for summary

judgment as to punitive damages. In a nutshell, I held that

Massachusetts law governs the availability of punitive damages for

some of plaintiffs’ claims but California law governs claims for

intentional infliction of emotional distress and civil conspiracy

(Dkt. 506). The Court assumes familiarity with its prior opinion,

Steiner v. eBay, Inc., __ F. Supp. 3d __, __ (D. Mass. 2024) [2024

WL 464877].



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     Interlocutory   appeals    under   § 1292(b)     require     that      the

underlying order (1) involves “a controlling question of law,”

(2) presents a “substantial ground for difference of opinion,” and

(3) “an immediate appeal from the order may materially advance the

ultimate termination of the litigation.” Caraballo-Seda v. Mun. of

Hormigueros, 395 F.3d 7, 9 (1st Cir. 2005) (quoting 28 U.S.C.

§ 1292(b)).   “[C]ertification    under     § 1292(b)    should    be      used

sparingly and only in exceptional circumstances.” Id. (quoting

Palandjian v. Pahlavi, 782 F.2d 313, 314 (1st Cir. 1986) (per

curiam)). Here, eBay has failed to establish, at minimum, the

second and third requirements.

     A substantial ground for difference of opinion is satisfied

when the issue presents “difficult and pivotal questions of law

not settled by controlling authority.” Philip Morris Inc. v.

Harshbarger, 957 F.     Supp. 327, 330 (D. Mass. 1997)             (quoting

McGillicuddy v. Clements, 746 F.2d 76, 76 n. 1 (1st Cir. 1984));

see In re Zofran (Ondansetron) Prods. Liab. Litig., 235 F. Supp.

3d 317, 319 (D. Mass. 2017). A party’s mere disagreement with a

court’s ruling or its application of law to a specific set of facts

is insufficient. See United Air Lines, Inc. v. Gregory, 716 F.

Supp. 2d 79, 92 (D. Mass. 2010).

     To establish a substantial ground for difference of opinion,

Defendants rely heavily on a forty-year-old opinion, Computer

Systems Engineering, Inc. v. Qantel Corp., 571 F. Supp. 1365 (D.

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Mass. 1983), aff’d, 740 F.2d 59 (1st Cir. 1984). However, that

case was decided under a different Restatement (Second) of Conflict

of Laws provision. Id. at 1368 (“The parties agree that the general

provision of the Restatement (Second) of Conflict of Laws most

relevant to this inquiry is Section 148 [relating to claims of

fraud and misrepresentation].”). Furthermore, eBay fails to cite

a single First Circuit case relying on Qantel for a conflict-of-

law analysis. Instead, the only authority eBay identifies -- a

district court case -- acknowledges that certain cases may warrant

a “patchwork approach.” Value Partners S.A. v. Bain & Co., 245 F.

Supp. 2d 269, 278 (D. Mass. 2003). My prior holding, that the

unique facts of this case justify such an approach, is consistent

with that reasoning. Accordingly, eBay fails to show a substantial

ground for difference of opinion.

     But the real donnybrook is that this appeal will not advance

the ultimate termination of this aged litigation. The suit was

filed on July 21, 2021. Multiple motions for summary judgment

remain pending, and the Court has yet to determine which issues

will be resolved as a matter of law. For example, eBay has filed

a motion for summary judgment on the issue of ratification, a

statutory prerequisite to punitive damages under California law.

See Cal. Civ. Code § 3294(b); Glovatorium, Inc. v. NCR Corp., 684

F.2d 658, 661 (9th Cir. 1982).



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     Defendants claim that an interlocutory appeal will facilitate

settlement with eBay, particularly if the ruling eliminates the

possibility of punitive damages. Currently, Plaintiffs are seeking

an eye-popping request in punitive damages. While the prospect of

limiting damages might promote settlement, the timeline for an

interlocutory appeal -- likely exceeding one year -- renders this

argument unpersuasive. By the time such an appeal is resolved, any

trial would likely be over, and a full appeal on a full record

could go forward thereafter.

                                 ORDER

     For the foregoing reasons, the Court DENIES the Motion to

Certify Interlocutory Appeal (Dkt. 516).



SO ORDERED.

                                    /s/ PATTI B. SARIS
                                    Hon. Patti B. Saris
                                    United States District Judge




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